            Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

BRENDA ORTIZ,                                  )
                                               )     Civil Action No.
     Plaintiff,                                )
v.                                             )
                                               )     JURY TRIAL DEMANDED
INTEGRITY MEDICAL SERVICES,                    )
LLC, and LANCE CUTSFORTH,                      )
                                               )
     Defendants.                               )
                                               )
__________________________________


                          COMPLAINT FOR DAMAGES

        COMES NOW, Brenda Ortiz (“Plaintiff”), and files this Complaint against

Defendant Integrity Medical Services, LLC (“Defendant IMS”) and Lance

Cutsforth (“Defendant Cutsforth”) (Defendant IMS and Defendant Cutsforth

collectively referred to as “Defendants”), and shows the following:

                             I.    Nature of Complaint

                                          1.

        Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.
         Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 2 of 8




                                            2.

      This action seeks declaratory relief, liquidated and actual damages, along

with attorney’s fees and costs, for Defendants’ failure to pay federally mandated

overtime wages to Plaintiff in violation of the Fair Labor Standards Act of 1938, as

amended, 29 U.S.C. §201 et seq. (hereinafter the “FLSA”) during Plaintiff’s

employment with Defendants.

                           II.      Jurisdiction and Venue

                                            3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. §216(b), and

28 U.S.C. §1331.

                                            4.

      Defendant is a Wyoming limited liability company, resides in this district,

and maintains its principle office in the district. Defendant Cutsforth is an owner

of Defendant IMS and resides in this state. Plaintiff submits herself to jurisdiction

in this Court. Venue is present in this jurisdiction pursuant to 28 U.S.C. § 1391.

                                 III.   Parties and Facts

                                            5.

      Plaintiff is a resident of the State of Georgia.




                                                             2
         Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 3 of 8




                                        6.

      Plaintiff was employed by Defendants as a “medical assistant” from

September 18, 2017 to June 5, 2018.

                                        7.

      Plaintiff was an “employee” of Defendants, as that term has been by the

FLSA.

                                        8.

      While employed by Defendants as a medical assistant, Plaintiff’s primary

duty was the performance of non-exempt work, specifically manual tasks involved

in providing medical care.

                                       10.

      Defendants are “employers” as that term has been defined by the FLSA.

                                       11.

      During her employment with Defendants, Plaintiff regularly worked an

amount of time that was more than 40 hours in given workweeks and was not paid

the overtime wage differential for hours she worked over 40.




                                                           3
         Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 4 of 8




                                       12.

      Defendant IMS is a private employer engaged in interstate commerce, and

its gross revenues exceed $500,000 per year.

                                       13.

       Plaintiff provided medical services at the place of employment for other

employees who are engaged in commerce. Plaintiff was individually covered under

the FLSA.

                                       14.

      Defendants knew or had reason to know that Plaintiff worked in excess of 40

hours in workweeks without overtime compensation for hours she worked in

excess of 40.

                                       15.

      During her employment with Defendants as a medical assistant, Plaintiff was

paid on a salary basis and not paid overtime compensation for hours she worked in

excess of 40 in workweeks.

                                       16.

      Defendants are governed by and subject to the FLSA.




                                                            4
          Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 5 of 8




                                         17.

       Defendants failed to pay Plaintiff the overtime wage differential required by

the FLSA, 29 U.S.C. §207 on occasions that Plaintiff worked over 40 hours in a

workweek.

                                         18.

       Defendant Cutsforth is involved in the day-to-day operations and has

substantial operational control over Defendant IMS, including, without limitation,

the policies governing individuals employed in the same capacity as Plaintiff.

                                         19.

       Defendant Cutsforth exerts substantial control over Defendant IMS’s

compliance with the FLSA.

                                         20.

       Defendant Cutsforth has the power to hire and fire employees, including,

without limitation, individuals employed by Defendant IMS in the same capacity

as Plaintiff.

                                         21.

       Defendant Cutsforth controls employee work schedules or conditions of

employment including, without limitation, individuals employed by Defendant

IMS in the same capacity as Plaintiff.

                                                            5
          Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 6 of 8




                                            22.

       Defendant Cutsforth determines the rate and method of payment for

employees including, without limitation, individuals employed by Defendant IMS

in the same capacity as Plaintiff.


                                          Count I

                    Violations of the Fair Labor Standards Act.

                                            23.

       Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.

                                            24.

       Defendants have violated the FLSA, 29 U.S.C. §207, by failing to pay

overtime wages for time that Plaintiff worked in excess of 40 hours in given

workweeks.

                                            25.

       Pursuant to the FLSA, 29 U.S.C. §216, Plaintiff brings this lawsuit to

recover unpaid overtime wages, liquidated damages in an equal amount, attorneys’

fees, and the costs of this litigation.



                                                           6
            Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 7 of 8




                                            26.

      Defendants knew or showed reckless disregard for the fact their actions,

policies, and/or omissions violated the FLSA.

                                IV.    Prayer for Relief

      WHEREFORE, Plaintiff respectfully requests that this Court:

      (A)     Grant Plaintiff a trial by jury as to all triable issues of fact;

      (B)     Enter judgment awarding Plaintiff unpaid wages pursuant to the

              FLSA, 29 U.S.C. §207, FLSA § 6, 29 U.S.C. § 206(d), liquidated

              damages as provided by 29 U.S.C. §216, pre-judgment interest on

              unpaid wages pursuant to 29 U.S.C. §216, and court costs, expert

              witness fees, reasonable attorneys’ fees as provided by 29 U.S.C.

              §216, and all other remedies allowed under the FLSA; and,

      (C)     Grant declaratory judgment declaring that Plaintiff’s rights have been

              violated;

      (D)     Permit Plaintiff to amend her Complaint to add state law claims if

              necessary;

      (E)     Award Plaintiff such further and additional relief as may be just and

              appropriate.

      This 16th day of July 2018.

                                                                  7
         Case 1:18-cv-03401-AT Document 1 Filed 07/16/18 Page 8 of 8




                                   BARRETT & FARAHANY

                                   /s/ V. Severin Roberts
                                   V. Severin Roberts
                                   Georgia Bar No. 940504
                                   Attorney for Brenda Ortiz

1100 Peachtree Street
Suite 500
Atlanta, GA 30309
(404) 214-0120 (phone)
(404) 214-0125 (facsimile)
severin@justiceatwork.com




                                                       8
